             Case 8:18-cv-03256-PX Document 9 Filed 10/26/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

                                                    )
 SARAH MAE TILLERY,                                 )
                                                    )
        Plaintiff                                   )
                                                    )
        v.                                          )      Civil Action No. 1:18-cv-03256-PX
                                                    )
 UNITED STATES DEPARTMENT OF                        )
 EDUCATION, et al.,                                 )
                                                    )
        Defendants.                                 )
                                                    )

                      DEFENDANT ALLIED INTERSTATE, LLC’S
                    MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Defendant Allied Interstate, LLC (“Allied”), by counsel and pursuant to Fed. R. Civ. P.

12(b)(5) and (6), respectfully moves to dismiss all claims alleged against it in the Complaint (ECF

No. 1-1) filed by the Plaintiff, Sarah Mae Tillery (“Tillery” or “Plaintiff”) for insufficient service

of process and for failure to state a claim upon which relief can be granted. The bases for this

Motion are set forth in the Memorandum of Law being filed contemporaneously herewith.

       WHEREFORE, Defendant Allied Interstate, LLC, by counsel, respectfully requests that

the Court dismiss Plaintiff’s Complaint with prejudice and that the Court grant Allied such further

relief as the Court deems just and proper.

Date: October 26, 2018                                  Respectfully submitted,

                                                        ALLIED INTERSTATE, LLC
                                                        By Counsel
           Case 8:18-cv-03256-PX Document 9 Filed 10/26/18 Page 2 of 3




REED SMITH LLP


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Counsel for Allied Interstate, LLC




                                      -2-
           Case 8:18-cv-03256-PX Document 9 Filed 10/26/18 Page 3 of 3



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of October 2018, the foregoing was electronically
filed with the Clerk of Court using the CM/ECF system, which will then send a notification of
electronic filing (NEF) to counsel of record. The foregoing document was also served on the
following via first class mail, postage prepaid, to:

                              Sarah Mae Tillery
                              a/k/a Sarah Mae Swann
                              5505 Lansing Drive
                              Temple Hills, MD 20748-4003

                              US Department of Education
                              Office of Inspector General
                              400 Maryland Avenue, S.W.
                              Washington, DC 20202

                              Asset Recovery Solutions, LLC
                              2200 E. Devon Avenue, Suite 200
                              Dos Plaines, IL 60018-4501

                              North Carolina A&T State University
                              1601 E. Market Street
                              Greensboro, NC 27411



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